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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF INDIANA
                                        INDIANAPOLIS DIVISION

 DEANNA CHANCE                                           )
                                                         )
            Plaintiff,                                   )
                                                         )
           v.                                            )           CASE NO. 1:15-cv-01627-JMS-MPB
                                                         )
 AMERICAN INSTITUTE OF                                   )
 TOXICOLOGY, INC. doing business                         )
 as AIT Laboratories, Inc.1                              )
                                                         )
            Defendant.                                   )

               JOINT MOTION FOR APPROVAL OF SETTLEMENT AND
       DISMISSAL OF LAWSUIT WITH PREJUDICE, AND REQUEST FOR HEARING

            Plaintiff Deanna Chance (“Plaintiff”), by her counsel, and Defendant American Institute

 of Toxicology, Inc. (“Defendant”), by its counsel, hereby move the Court to set a telephonic

 hearing to review and approve the settlement of the above-caption lawsuit, and upon such

 approval, to dismiss the lawsuit with prejudice. In support of this Joint Motion, the parties state

 the following:

            1.       In her Amended Complaint, Plaintiff alleged a violation of the overtime

 provisions of the Fair Labor Standards Act (“FLSA”), age discrimination under the Florida Civil

 Rights Act (“FCRA”) and retaliation under the FCRA. In Defendant’s answer to Plaintiff’s

 Amended Complaint, Defendant denied Plaintiff’s claims and denied that Plaintiff is entitled to

 relief under the FLSA, the FCRA or any other statute or law.

            2.       Plaintiff and Defendant have reached an agreement to compromise and settle the

 above-captioned lawsuit.           Plaintiff and Defendant have memorialized such settlement in a

 Confidential Settlement Agreement.


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     The proper name of the Defendant is American Institute of Toxicology, Inc. d/b/a AIT Laboratories.


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          3.       Plaintiff and Defendant agree that the settlement contemplated by the Confidential

 Settlement Agreement is a fair and reasonable resolution of the disputed FLSA claims as well as

 all other claims alleged in this lawsuit.

          4.       Accordingly, Plaintiff and Defendant jointly request that the Court set a

 telephonic hearing wherein the Court may review and approve the terms of the parties’

 Confidential Settlement Agreement as fair and reasonable and then dismiss the above-captioned

 lawsuit with prejudice.

          WHEREFORE, the parties jointly and respectfully request that the Court set a telephonic

 hearing to consider this joint motion and, following such hearing, that the Court approve the

 parties’ Confidential Settlement Agreement and dismiss this lawsuit with prejudice.

                                        Respectfully submitted,

 WILSON MCCOY, P.A.                                    FAEGRE BAKER DANIELS LLP


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